  Case: 1:17-cv-03591 Document #: 525 Filed: 01/13/25 Page 1 of 3 PageID #:8264




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

STANLEY BOIM, et al.,                          )
                                               )
      Plaintiffs,                              )      17-cv-03591
                                               )
      v.                                       )
                                               )      Honorable Andrea R. Wood
AMERICAN MUSLIMS FOR                           )
PALESTINE, et al.,                             )
                                               )      Magistrate Heather K.
                                               )      McShain
      Defendants.                              )



    JOINT STATUS REPORT ON OUTSTANDING DISCOVERY ISSUES

      Counsel for Taher Herzallah, by Janine L. Hoft and Ben Elson of the People’s

Law Office; Plaintiffs by Daniel I. Schlessinger and Seth Corthell; and, Defendants,

by Christina A. Jump and Samira S. Elhosary, in compliance with this Court’s

January 3, 2025 Minute Order [Dkt. 519], hereby submit this Joint Status Report.

      1.     All counsel met by video conference on January 7, 2025 at 3:00 p.m.

CST, to discuss the deposition of Taher Herzallah.

      2.     Counsel further subsequently communicated by electronic mail and all

agreed that the deposition of Mr. Herzallah will take place on March 6, 2025.

      3.     Pursuant to this Court’s subsequent Minute Order of January 8, 2025

(Dkt. 523), Plaintiffs and Defendants report that they agree, subject to the Court’s

approval, that the previously set fact discovery cut-off of January 8, 2025 shall remain

in place with the following exceptions:



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  Case: 1:17-cv-03591 Document #: 525 Filed: 01/13/25 Page 2 of 3 PageID #:8265




      a. as previously agreed and approved, the deposition of Rafeeq Jaber will take

           place on January 21 and 22, 2025;

      b. as noted above, the deposition of Taher Herzallah will take place on March

           6, 2025;

      c. the previously ordered document production by Defendant AMP/AJP in

           response to Plaintiffs’ Request for Production 11 will take place no later

           than January 31, 2025.

      4.      Plaintiffs believe that an extension regarding expert disclosure and

discovery deadlines may become necessary; the Parties will provide more of an update

to this Court after more of the remaining discovery items take place, if that appears

necessary.




                                          2
  Case: 1:17-cv-03591 Document #: 525 Filed: 01/13/25 Page 3 of 3 PageID #:8266




                                     Respectfully submitted,

Date: January 13, 2025
                                     /s/
                                     Janine L. Hoft, Ben Elson
                                     People’s Law Office
                                     1180 N. Milwaukee Ave.
                                     Chicago, IL 60642
                                     773-235-0070
                                     janinehoft@peopleslawoffice.com
                                     ben@peopleslawoffice.com
                                     Attorneys for Taher Herzallah


                                     /s/
                                     Daniel I. Schlessinger
                                     Seth Corthell
                                     Jaszczuk P.C.
                                     311 S. Wacker Drive
                                     Suite 2150
                                     Chicago, IL 60606
                                     312-442-0366
                                     dschlessinger@jaszczuk.com
                                     scorthell@jaszczuk.com
                                     Attorneys for Plaintiffs


                                     /s/
                                     Christina A. Jump
                                     Samira S. Elhosary
                                     Constitutional Law Center for Muslims in
                                     America*
                                     100 N. Central Expressway
                                     Suite 1010
                                     Richardson, TX 75080
                                     (972) 914-2507
                                     cjump@clcma.org
                                     selhosary@clcma.org
                                     Attorneys for Defendants

                                     *The Constitutional Law Center for Muslims
                                     in America is the legal division of the Muslim
                                     Legal Fund of America



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